                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD,                                )
                                                          )
             Plaintiff,                                   )
                                                          )      Docket No.: 3:19-CV-00009
                                                          )
  v.                                                      )
                                                          )
  BILL JOHNSON,                                           )
  DERRICK GRAVES, and                                     )
  MONROE COUNTY, TENNESSEE                                )
                                                          )
             Defendants.                                  )


                                      PLAINTIFF’S WITNESS LIST

             COMES NOW, the Plaintiff by and through his attorney and does hereby respectfully

  submit this Witness List pursuant to the scheduling Order of this Honorable Court.

                               Witnesses Plaintiff Anticipates/Expects to Call


       1.        Plaintiff;

       2.        Darlene Lovingood;

       3.        Tommy Jones;

       4.        Records Custodian for Jail Videotapes;

       5.        Jimmy Quenomoen;

       6.        Joe Fritts;

       7.        Renee Reed;

       8.        Bryan Graves;

       9.        Derrick Graves;

       10.       Records Custodian for Moccasin Bend Mental Health Facility;

                                                                                             -1-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 1 of 6 PageID #: 822
     11.   Jeanne Williams;

     12.   Records Custodian for Monroe County Circuit Court Criminal Clerk;

     13.   Records Custodian for Helen Ross McNabb Center;

     14.   Jennifer Bledsoe;

     15.   Mike Bledsoe;

     16.   Mary Stanley;

     17.   Dr. Hussein Cherokee Mental Health Systems

     18.   John Wilburn;

     19.   Justin Bell;

     20.   Josh Crowder;

     21.   TBI agent Jason Legg;

     22.   Albert Medina;

     23.   Attorney Matthew Rogers;

     24.   Records Custodian Starr Regional Medical Center;

     25.   Seth Wilson;

     26.   Trina Sue Graham;

     27.   Steve Miller;

     28.   Ryan Burnette;

     29.   Rachel Moore;

     30.   Mary Ellen;

     31.   Amanda Wear;

     32.   Frankie Stevens;

     33.   Daniel Boothroyd;



                                                                               -2-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 2 of 6 PageID #: 823
     34.   Angela Conklin;

     35.   Jeannie Wiggins;

     36.   Bill Bivens;

     37.   Randy White;

     38.   Jeff Brown;

     39.   Bill Johnson;

     40.   Carolyn Shirk;

     41.   April White;

     42.   Bill Johnson’s wife;

     42.   Tina Giese;

     43.   Ryan Taylor;

     44.   Robby Lovingood;

     45.   Doug Mills;

     46.   George Mack Williams;

     47.   Doug Brannon;

     48.   Jeffrey Lovingood;

     49.   Tim Yates;

     50.   William Cross;

     51.   Chris White;

     52.   Wes Martin;

     53.   Travis Jones;

     54.   Mack Williams;

     55.   Steven Crump;



                                                                           -3-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 3 of 6 PageID #: 824
     56.   Reida Shirk;

     57.   Brian Hodge;

     58.   Eddie Manning;

     59.   Records Custodian for Cherokee Mental Health facility;

     60.   Records Custodian for Athens Stock Yard;

     61.   Autumn Williams;

     62.   Janice T. Jenkins;

     63.   Karen Ratliff Trotter;

     64.   Hasmukh Kanabar;

     65.   Sweetwater Hospital;

     66.   Hiawassee Mental Health Center for Behavioral Care;

     67.   Hope Center;

     68.   Parkridge Valley Child and Adolescent Hospital;

     69.   Records Custodian Hopkinsville Community College;

     70.   Records Custodian JTEKT;

     71.   Records Custodian Parkridge West Hospital;

     72.   Dr. Dennis Aust;

     73.   Dr. Joseph Kalister;

     74.   Jonathan Moore;

     75.   Jason Hanson;

     76.   Curtis Aukerman;

     77.   Lynda Rogers;

     78.   Records Custodian for Volunteer Behavioral Health Care;



                                                                           -4-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 4 of 6 PageID #: 825
     79.   Any Rebuttal and or Impeachment Witnesses; and

     80.   Any Witness identified on the Defendant’s Witness List.


     RESPECTFULLY SUBMITTED, this the 9th day of November, 2021.



                                                   THE BOWLIN LAW FIRM P.C.



                                           By:     _________________________for The Firm
                                                   Troy L. Bowlin, II No. 025893
                                                   Attorney for Plaintiff
                                                   First Tennessee Plaza
                                                   800 South Gay St. Suite 2131
                                                   Knoxville, Tennessee 37929
                                                   Telephone: 865.245.2011
                                                   troy@tblf-pc.com
                                                   www.thebowlinlawfirm.com




                                                                                      -5-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 5 of 6 PageID #: 826
                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was transmitted for service via Pacer and this
  Court’s Electronic Court Filing System to:



         This the 9th day of November, 2021.

                                                       THE BOWLIN LAW FIRM P.C.



                                               By:     _________________________for The Firm
                                                       Troy L. Bowlin, II No. 025893
                                                       Attorney for Plaintiff
                                                       First Tennessee Plaza
                                                       800 South Gay St. Suite 2131
                                                       Knoxville, Tennessee 37929
                                                       Telephone: 865.245.2011
                                                       troy@tblf-pc.com
                                                       www.thebowlinlawfirm.com




                                                                                                 -6-
Case 3:19-cv-00009-DCLC-JEM Document 82 Filed 11/09/21 Page 6 of 6 PageID #: 827
